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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 21-60746-CIV-SMITH

 JOHN AGUILA,

        Plaintiff,

 v.

 RIPA & ASSOCIATES, LLC, et al.,

       Defendants.
 _______________________________________/

             ORDER DENYING DEFENDANT RIPA’S MOTION TO DISMISS

        This matter is before the Court on Defendant, Ripa & Associates, LLC’s (“RIPA” or

 “Defendant”) Motion to Dismiss Amended Complaint [DE 15], Plaintiff’s Response in Opposition

 [DE 16], and Defendant’s Reply [DE 17]. For the reasons that follow, Defendant’s Motion to

 Dismiss is denied.

 I.     THE AMENDED COMPLAINT

        This case involves claims brought under the Vehicle Information and Cost Savings Act, 49

 U.S.C. § 32701, et seq. (the “Odometer Act”). According to the Amended Complaint [DE 7],

 RIPA entered into an employment, agency, partnership or joint venture with unknown defendants

 to dispose of used fleet vehicles with unlawfully modified odometers. (Am. Compl. ¶ 12.) RIPA

 would routinely retire vehicles that had reached high-mileage or vehicles that had become too

 costly to repair. (Id. ¶ 16.) RIPA contracted with unknown defendants to market and sell heavily

 used, high-mileage fleet vehicles. (Id. ¶ 17.) The vehicles were sold by unknown defendants on

 behalf of RIPA. (Id. ¶ 18.) The vehicles were owned by and registered to RIPA. (Id.) In order

 to obtain higher prices for the vehicles, the odometers were rolled back to significantly lower the
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 shown mileage. (Id. ¶ 19.) RIPA handed the physical titles for the vehicles to the unknown

 defendants without completing either the assignment or mileage disclosure, thereby allowing the

 unknown defendants to modify the title document prior to sale. (See id. ¶ 20.)

        In August 2020, Plaintiff sought a reliable, lower mileage, used pick-up truck for his small

 business. (Id. ¶ 25.) Plaintiff discovered an online advertisement for a 2015 Dodge Ram 1500

 (the “Pickup”), offered for sale by an individual referred to as Bob Marks (“Bob Marks”), whom

 Plaintiff believes to be an undisclosed agent of RIPA. (Id. ¶ 27.) The online advertisement was

 designed to create the impression that Bob Marks was a small business owner. (Id. ¶ 28.) The

 advertisement used a stock image related to a plumbing company next to the seller’s name. (Id.)

 Based upon the advertisement’s representation, Plaintiff believed that Bob Marks was a small

 businessman looking to sell his own work vehicle. (Id. ¶ 29.)

        Plaintiff contacted Bob Marks using the advertised telephone number. (Id. ¶ 30.) Bob

 Marks confirmed that the Pickup was available for sale, and Bob Marks made the following

 additional representations: (1) the Pickup was a work vehicle that Bob Marks had used in his

 plumbing business; (2) Bob Marks was “getting rid of his old work trucks” that were used in his

 business; (3) the mileage was 82,000. (Id. ¶ 32.) Plaintiff had seen at least one other internet

 advertisement posted by Bob Marks for another pick-up truck. (Id. ¶¶ 33-34.)

        Plaintiff asked to see the Pickup, and Bob Marks told Plaintiff to meet him “behind his

 plumbing business” at 1840 NE 41st Street, Pompano Beach, Florida 33064. (Id. ¶¶ 36-38.)

 Unbeknownst to Plaintiff, the location provided was a plumbing business, but not one owned or

 associated with Bob Marks. (Id. ¶ 39.) The location provided to Plaintiff was used by Bob Marks

 as a staging area where Bob Marks would go to launder car titles to unsuspecting purchasers

 without being tracked. (Id. ¶ 40.) Bob Marks arrived with an unidentified female in a Ford pick-



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 up truck, believed to be owned by RIPA. (Id. ¶ 41.) Plaintiff offered $11,500 in cash for the

 Pickup, and Bob Marks accepted. (Id. ¶¶ 42-46.)

        Bob Marks began to fill out the title for the Pickup, using a blue pen. (Id. ¶¶ 47-48.)

 Plaintiff then wrote his name and address with black pen and signed his name to the Transfer Title.

 (Id. ¶¶ 49-50.) Bob Marks asked Plaintiff to read out the mileage listed on the Pickup odometer,

 and Plaintiff did so, stating that the Pickup had approximately 82,500 miles listed on the odometer.

 (Id. ¶¶ 52-55.) Plaintiff paid Bob Marks the purchase price in cash. (Id. ¶ 57.) Bob Marks

 instructed Plaintiff to transfer the title at a specific private tag agency, located at 1503 S. Cypress

 Road, Pompano Beach, Florida 33060 (the “Tag Agency”). (Id. ¶ 59.) Unbeknownst to Plaintiff,

 Bob Marks had carefully choregraphed the title transfer to induce Plaintiff into buying a vehicle

 with a modified odometer that had been owned by RIPA. (Id. ¶ 60.)

        After returning home, Plaintiff accessed the CARFAX website and obtained a report on

 the Pickup. (Id. ¶ 66.) According to the CARFAX report, the Pickup was a 2014 model, not a

 2015 model. (Id. ¶ 67.) The CARFAX report also showed that the service records associated with

 the Pickup reported significantly greater mileage on the Pickup — four months prior to the date of

 sale, the mileage registered on the Pickup was 177,372 miles. (Id. ¶¶ 71-72.) Upon further

 inspection, Plaintiff discovered that the Pickup was actually owned by RIPA, not Bob Marks. (Id.

 ¶ 75.) The address listed for RIPA was in Tampa, Florida, not the location at which Bob Marks

 instructed Plaintiff to meet him. (Id. ¶ 76.) Plaintiff also discovered that the Transfer of Title

 inaccurately reflected the purchase price. The document stated that Bob Marks only received

 $5,000 for the Pickup, rather than the correct purchase price of $11,500. (Id. ¶ 78.) Plaintiff

 believes that Bob Marks instructed Plaintiff to use the Tag Agency intentionally to avoid any

 potential questioning by government employees. (Id. ¶ 80.)



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        Thereafter, Plaintiff inspected the website on which Bob Marks had advertised the Pickup

 and discovered that Bob Marks was selling many other vehicles, with similar advertised mileage.

 (Id.) Bob Marks also operated under the alias “Bobby Turner.” (Id. ¶ 86.) Similar to Bob Marks,

 Bobby Turner used a stock photograph relating to roofing next to his name in an effort to falsely

 represent that he was a small business roofer. (Id. ¶ 88.) Plaintiff conducted an internet search for

 the individual who had signed the Transfer Title, Chris LaFace. (Id. ¶ 96.) Plaintiff discovered

 that LaFace was the President and Chief Executive Officer of RIPA. (Id. ¶ 97.) Plaintiff called

 RIPA and asked to speak with Robert Turner, who turned out to be RIPA’s fleet vehicle manager.

 (Id. ¶¶ 99-100.)

        Plaintiff claims that, according to the Florida Department of Motor Vehicle records, RIPA

 has owned more than three hundred fleet vehicles in the past four years. (Id. ¶ 101.) Since June

 2020, RIPA has sold at least fifty-four (54) fleet vehicles under the name “Bob Marks” and sixty-

 three (63) fleet vehicles under the name “Bobby Turner” using the same website. (Id. ¶ 107.)

 Plaintiff believes that RIPA has used similar tactics to fraudulently sell other fleet vehicles. (Id. ¶

 102.) Plaintiff contacted Bob Marks to confront him with the information that Plaintiff had

 uncovered. (Id. ¶¶ 89-90.) Plaintiff demanded that Bob Marks refund his money, and Bob Marks

 agreed. (Id. ¶¶ 91-92.) However, Bob Marks never refunded the money. (Id. ¶¶ 93-94.)

        Plaintiff has alleged six counts against RIPA and the remaining unknown defendants: (1)

 tampering and false disclosure in violation of the federal Odometer Act; (2) aiding and abetting in

 violation of the federal Odometer Act; (3) fraud; (4) negligent misrepresentation; (5) fraudulent

 inducement; and (6) breach of express warranty. RIPA seeks to dismiss Plaintiff’s Amended

 Complaint under Federal Rule of Civil Procedure 12(b)(6).




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 II.    LEGAL STANDARD

        In order to state a claim for relief, Federal Rule of Civil Procedure 8 requires that a pleading

 contain a “short and plain statement of the claim showing that the pleader is entitled to relief.”

 Fed. R. Civ. P. 8(a)(2). Although the complaint “does not need detailed factual allegations,” it

 must provide “more than labels and conclusions, and a formulaic recitation of the elements of a

 cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); see Ashcroft

 v. Iqbal, 556 U.S. 662, 678 (2009). A complaint may not rest on “‘naked assertion[s]’ devoid of

 ‘further factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557).

 “Factual allegations must be enough to raise a right to relief above a speculative level.” Twombly,

 550 U.S. 555.

        When reviewing a motion under Rule 12(b)(6), a court, as a general rule, must accept the

 plaintiff’s allegations as true and evaluate all plausible inferences derived from those facts in favor

 of plaintiff. See United Life Ins. Co. v. Martinez, 480 F.3d 1043, 1066 (11th Cir. 2007). However,

 this does not apply to legal conclusions, and courts are not bound to accept as true a legal

 conclusion couched as a factual allegation. Twombly, 550 U.S. at 555 (citing Papasan v. Allain,

 478 U.S. 265, 286 (1986)); see Iqbal, 556 U.S. at 678. Moreover, “courts may infer from the

 factual allegations in the complaint ‘obvious alternative explanations,’ which suggest lawful

 conduct rather than the unlawful conduct the plaintiff would ask the court to infer.” ADA v. Cigna

 Corp., 605 F.3d 1283, 1290 (11th Cir. 2010) (citing Iqbal, 556 U.S. at 682). A court considering

 a Rule 12(b)(6) is generally limited to the facts contained in the complaint and attached exhibits,

 including documents referred to in the complaint that are central to the claim. See Horsley v. Feldt,

 304 F.3d 1125, 1134 (11th Cir. 2002). The Eleventh Circuit has endorsed “a ‘two-pronged

 approach’ in applying these principles: 1) eliminate any allegations in the complaint that are

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 merely legal conclusions; and 2) where there are well-pleaded factual allegations, ‘assume their

 veracity and then determine whether they plausibly give rise to an entitlement to relief.’” ADA,

 605 F.3d at 1290 (quoting Iqbal, 556 U.S. at 679).

 III.   DISCUSSION

        The Odometer Act allows private citizens to recover money damages from those who

 violate its provisions with the intention to defraud. 49 U.S.C. § 32710(a). In order to allege a

 cause of action under the Odometer Act, a complaint must allege (1) that the defendant violated

 the Act or its regulations (2) with the intent to defraud. Owens v. Samkle Auto., Inc., 425 F.3d

 1318, 1321 (11th Cir. 2005). Plaintiff has alleged that Defendants violated sections 32703, 32704,

 and 32705. Section 32703 provides, in relevant part, that:

        A person may not —
                                           *      *       *
                (2) disconnect, reset, alter, or have disconnected, reset, or altered, an
                odometer of a motor vehicle intending to change the mileage registered by
                the odometer;
                (3) with intent to defraud, operate a motor vehicle on a street, road, or
                highway if the person knows that the odometer of the vehicle is
                disconnected or not operating; or
                (4) conspire to violate this section or section 32704 or 32705 of this title.
 49 U.S.C. § 32703. Section 32704 provides, in relevant part, that:
        (a) Adjusting mileage. A person may service, repair, or replace an odometer of a
        motor vehicle if the mileage registered by the odometer remains the same as before
        the service, repair, or replacement. If the mileage cannot remain the same —
                (1) the person shall adjust the odometer to read zero; and
                (2) the owner of the vehicle or agent of the owner shall attach a written
                notice to the left door frame of the vehicle specifying the mileage before the
                service, repair, or replacement and the date of service, repair, or
                replacement.



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        (b) Removing or altering notice. A person may not, with intent to defraud, remove
        or alter a notice attached to a motor vehicle as required by this section.
 49 U.S.C. § 32704. Section 32705(a)(2) provides that “A person transferring ownership of a motor

 vehicle may not violate a regulation prescribed under this section or give a false statement to the

 transferee in making the disclosure required by such a regulation.” 49 U.S.C. § 32705(a)(2).

        RIPA argues that Plaintiff erroneously seeks to attribute Bob Mark’s conduct and

 representations to RIPA without sufficiently alleging any actual or apparent agency relationship

 between RIPA and Bob Marks. RIPA also argues that Plaintiff’s allegations are insufficient to

 directly implicate RIPA in any wrongful conduct. The Court disagrees.

        The Amended Complaint alleges facts sufficient to support claims against RIPA directly

 and through the conduct of its apparent agent, Bob Marks. Plaintiff alleges that the Pickup he

 purchased from RIPA contained an odometer that had been tampered with or replaced by

 Defendants. The Transfer of Title document was executed by Chad LaFace, the President and

 Chief Executive Officer of RIPA. Accordingly, Chad LaFace knowingly authorized the sale of a

 vehicle owned by RIPA with an odometer that had been unlawfully modified or replaced and failed

 to make the proper disclosures prior to executing the sale. Plaintiff alleges that RIPA had actual

 knowledge of the unlawfully modified odometers and nevertheless sold the vehicles with the intent

 to defraud unsuspecting purchasers and secure a higher purchase price.

        Moreover, Plaintiff alleges that RIPA entered into an agreement or conspired with, among

 others, Bob Marks to broker the sale of RIPA’s retired fleet vehicles with unlawfully modified

 odometers. The factual allegation claiming that Bob Marks had the authority to transact on behalf

 of RIPA supports Plaintiff’s agency theory. The existence of an agency relationship between Bob

 Marks and RIPA is a reasonable inference derived from the factual allegation claiming that Bob

 Marks brokered and effectuated the sale of the Pickup lawfully owned and registered to RIPA.


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 Furthermore, Plaintiff alleges that Brad LaFace authorized Bob Marks to make alterations to the

 Transfer of Title document, even after it had been signed, in order to complete the sale. According

 to the Amended Complaint, Bob Marks advertised RIPA’s vehicle for sale, had control and

 possession of RIPA’s vehicle and its title, negotiated the purchase price of RIPA’s vehicle,

 modified the Transfer of Title document for RIPA’s vehicle after the document had been signed

 and provided to him by RIPA’s President and Chief Executive Officer, accepted the cash payment

 in exchange for RIPA’s vehicle, and otherwise completed the transaction for sale of RIPA’s

 vehicle.   Had such a relationship not existed, Bob Marks would presumably not have been in

 possession of the already executed vehicle title and would not have been capable of completing

 the transaction with Plaintiff. The Court finds that, at this early stage of the proceeding, the

 allegations contained within the Amended Complaint are sufficient to allege an apparent agency

 relationship between Bob Marks and RIPA. Thus, the Amended Complaint contains allegations

 sufficient to state a claim for relief against RIPA with respect to Counts I-V.

        Next, RIPA argues that Plaintiff has failed to state a claim for aiding and abetting.

 Specifically, RIPA argues that Plaintiff has failed to include allegations that RIPA had actual

 knowledge of the underlying violations of the Odometer Act, one of the elements of an aiding and

 abetting claim. The Court disagrees. In the Amended Complaint, Plaintiff alleges that RIPA had

 actual knowledge of the unlawfully modified odometers and nevertheless sold the vehicles with

 an intent to defraud the purchasers and secure a higher purchase price. Plaintiff alleges that RIPA

 conspired and entered into an agreement with other individuals, such as Bob Marks, for the purpose

 of selling its vehicles with unlawfully modified odometers. Plaintiff’s allegations concerning

 RIPA’s knowledge of the underlying violations of the Odometer Act are sufficient to state a claim

 for aiding and abetting.



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        Finally, RIPA argues that Plaintiff’s claims for breach of an express warranty must be

 dismissed because Plaintiff failed to satisfy pre-suit notice requirements, required under Florida

 law. In response, Plaintiff argues that he did provide sufficient notice when Plaintiff confronted

 Bob Marks and demanded a refund.

        Under Florida law, a buyer must notify the seller of any breach within a reasonable time

 after the breach is or should have been discovered or the buyer is barred from remedy. Fla. Stat.

 § 672.607(3)(a). RIPA’s argument is predicated upon a finding that Plaintiff failed to adequately

 allege an agency relationship between Bob Marks and RIPA. As explained above, Plaintiff has

 sufficiently alleged the exitance of an agency relationship between Bob Marks and RIPA. Plaintiff

 clearly alleged that, upon discovering the alleged fraud, Plaintiff contacted Bob Marks and

 demanded a refund, but Bob Marks failed to refund Plaintiff the money.

        Accordingly, it is ORDERED that Defendant’s Motion to Dismiss the Amended

 Complaint [DE 15] is DENIED. Defendant shall file their answer the Amended Complaint no

 later than March 7, 2022.

        DONE AND ORDERED in Fort Lauderdale, Florida on this 28th day of February, 2022.




 cc:    Counsel of record




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